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                UNITED STATES BANKRUPTCY COURT
                                Western District of Kentucky
      IN RE:                                                            Case No.:18−10626−jal
      Hannah Elizabeth
      Vincent
                                                                        Chapter: 7
                                  Debtor(s)                             Judge: Joan A. Lloyd




                                NOTICE OF HEARING
      TO THE DEBTOR(S) AND ALL PARTIES IN INTEREST:

      PLEASE TAKE NOTICE that a hearing will be held in the above−referenced case as
      listed below to consider and act upon the matters listed below and transact other
      business as may properly come before the Court:

      Sua Sponte Notice of Hearing for the Debtor and Debtor's counsel to appear and show
      cause why this case should not be dismissed for failure to file the signed statement
      required by Administrative Manual Section 2.1(m)(2) which was due by July 12, 2018.
      Show Cause hearing to be held on 8/23/2018 at 10:00 AM (Central Time) at Warren
      Co. Justice Center, Circuit Courtroom B, 4th Floor, 1001 Center Street, Bowling Green,
      KY 42101. ANY PARTY WISHING TO APPEAR BY VIDEO CONFERENCE AT
      ONE OF THE VIDEO CONFERENCE SITES IN THE WESTERN DISTRICT MUST
      CONTACT THE COURT BY PHONE NO LATER THAN TWO BUSINESS DAYS
      PRIOR TO THE SCHEDULED HEARING. cc: Service List (Rupe, B)

      PLEASE TAKE ADDITIONAL NOTICE that should a continuance of the hearing be
      necessary for good cause shown, the movant shall request the continuance in writing,
      with notice to all parties in interest, no later than seven (7) days prior to the scheduled
      hearing.



      Dated: 7/23/18
                                                              FOR THE COURT
      By: bc                                                  Elizabeth H. Parks
      Deputy Clerk                                            Clerk, U.S. Bankruptcy Court
